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              In the United States District Court
              for the Southern District of Georgia
                      Brunswick Division
UNITED STATES OF AMERICA,           )
                                    )
        v.                          )
                                    )           2:22-CR-026-55
ADAM SMITH,                         )
                                    )
        Defendant.                  )


                                    ORDER

        Defendant filed a Motion for Temporary/Pretrial Release on an

unsecured $25,000 bond. Dkt. No. 1432. Defendant pled guilty to

“an offense for which a maximum term of imprisonment of ten years

or more is prescribed in the Controlled Substances Act (21 U.S.C.

§ 801 et seq.),” 18 U.S.C. § 3142(f)(1)(C), and “is awaiting

imposition or execution of sentence,” 18 U.S.C. § 3143(a)(2). As

a result, the Court “shall order that [Defendant] . . . be detained

unless [the Court] finds by clear and convincing evidence that

[Defendant] is not likely to flee or pose a danger to any other

person or the community,” 18 U.S.C. § 3143(a)(2)(B).

        Defendant has not shown by clear and convincing evidence that

he “is not likely to flee or pose a danger to any other person or

the    community.”    Id.   As   mentioned,   Defendant   pled   guilty     to

Conspiracy to Possess with Intent to Distribute and to Distribute

a Quantity of Fentanyl, in violation 21 U.S.C. Section 846. Dkt.
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No. 1409 at 1; Dkt. No. 1410. This is a serious drug offense

subject to a lengthy period of incarceration. Dkt. No. 1409 at 2;

Dkt. No. 1410. As the Magistrate Judge noted in the Order of

Detention Pending Trial, Defendant also has a prior criminal

history, a history of alcohol or substance abuse, lack of stable

employment, a prior failure to appear in court as ordered, and

prior violations of probation, parole, or supervised release. Dkt.

No. 546 at 2–3. All these factors weigh against finding that

Defendant “is not likely to flee or pose a danger to any other

person or the community.” 18 U.S.C. § 3143(a)(2)(B).

     While Defendant has presented evidence that he is the primary

caretaker of his ill father, this does not amount to clear and

convincing evidence that he “is not likely to flee or pose a danger

to any other person or the community,” especially considering the

aforementioned factors that indicate the contrary. Id. While the

Court   is   sympathetic   to   Defendant’s   family   situation,   after

consideration of all the factors contained in 18 U.S.C. Section

3142(g), the Court concludes continued detention is appropriate

under   18   U.S.C.   Section   3143(a)(2)(B).   Therefore,   Defendant’s

Motion for Temporary/Pretrial Release, dkt. no. 1432, is DENIED.




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  SO ORDERED this 31st day of July, 2023.




                              _________________________________
                              HON. LISA GODBEY WOOD, JUDGE
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA




                                3
